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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF GEORGIA
SAVANNAH DIVISION

 

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JACQUELYN ORR and WILLIAM ORR, } |
Plaintiffs, CIVIL ACTION NO.
VS. , 416-52
MACY'S RETAIL HOLDINGS, INC.,
Defendant.

Deposition of L. LAMAR BLOUNT, CPA/CFF,
FHEMA, taken on behalf of the Plaintiffs,
pursuant to Notice, in accordance with the
Federal Rules of Civil Procedure, before Louise
Nielson, Certified Court Reporter, at 555 North
Point Center Kast, Suite 403, Alpharetta,
Georgia, on the 19th day of September, 2016,

commencing at the hour of 9:05 a.m.

 

 

 

 

 

EXHIBIT

5

McKee Court Reporting, Ine. |
912-238-8808 :

     

 

 
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Page 2
1 APPEARANCES OF COUNSEL:
2 ON BEHALF OF THE PLAINTIFFS:
3 R. SCOT KRABRUTER, ESQ.
Johnson, Kraeuter & Dunn, LLC
4 104 West State Street
Suite 200
5 Savannah, GA 31401
6 ON BEHALF OF THE DEFENDANT:
. a
. i
7 LISA R. RICHARDSON, ESQ.
Drew Eckl & Farnham, LLP
8 880 West Peachtree Street, N.W.
Atlanta, GA 30308
2&9 -— =
i
10 (Whereupon, disclosure as required by the :
il Georgia Board of Court Reporting was made by the
12 court reporter, a written copy of which is
13 attached hereto.)
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Page 3
1 MR. KRABUTER: This will be the deposition
2 of L. Lamar Blount, CPA/CFF, FHFMA taken
3 pursuant to notice and agreement of counsel. I
4 would propose that we stipulate to the time,
5 method and manner of the taking of the
6 deposition as well as our court reporter's
7 qualifications, if that's agreeable.
8 MS. RICHARDSON: It's agreeable.
9 MR. KRARUTER: All right. And I would
10 propose that we reserve objections except as to
11 the form of the question and the responsiveness
12 of the answer until such time as first use.
13 MS. RICHARDSON: That's fine.
14 MR. KRABUTER: Okay. Anything else to put
15 on the record? .
16 MS. RICHARDSON: I don't think so.
17 MR. KRARUTER: All right. Why don't we
18 swear the witness, please.
19 L. LAMAR BLOUNT, CPA/CEF, FHFMA,
20 having been first duly sworn, was examined and testified
21 as follows:
22 CROSS-EXAMINATION
23 BY Mr. Kraeuter:
24 Q Mr. Blount, my name is Scot Kraeuter. I'm
25 going to ask you some questions today. If I ask you

 

 

 

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a question that you do not understand or you find

confusing in any way, will you let me know, please?

deposition notice served a notice to produce asking
you to bring to the deposition in paper form a number

of documents.

“sir.

O PY» OO PF 0

Page 4

A Yes, I will.

QO All right. Now, we had with your

A It didn't say paper —-

 

 

Do you have that information?

It didn't say paper form,

Yes, it did, sir. It said "in paper form."

Welt, I don't keep --

I'm looking, I'm looking at the notice,

It said, "in paper form."
MS. RICHARDSON: It does.

THE WITNESS: Well, I'm not going to print
at out. I brought, I brought my electronic file
of my electronic records.

MR. KRAEUTER: All right. Tisa?
THE WITNESS: I brought paper records of my
paper records.
MR. KRARUTER: Lisa?
MS. RICHARDSON: Yes.
MR. KRAEUTER: I would like the materials

in paper form, please, as the notice required.

 

 

 

 

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Page 5
And there's been no objection to the notice.
MS. RICHARDSON: How much is on there?
THE WITNESS: I don't know.
MS. RICHARDSON: Do we have -- can we print

something out here?

THE REPORTER: 1 have no idea.

MS. RICHARDSON: Okay. Hhet's see if we can
get it printed here.

MR. KRABUTER: Okay.

MS. RICHARDSON: I mean, I don't know how
much is on there or whether it's even feasible
to print, but --

MR. KRAERUTER: Well, let's see. But I
don't want to, I don't want to lose time in this
deposition because the witness didn't comply
with the notice.

MS. RICHARDSON: Sure. Let's see,

Okay. Let's go off for a second.

MR. KRAEUTER: Okay.

(Whereupon, a brief recess was taken.)

0 (By Mr. Kraeuter) Okay. I think when we left
off, Mr. Blount, we were talking about documents that
you were to bring to the deposition.

A Yes.

Q There was an issue in that you brought a

 

 

 

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7 number of documents on a thumb drive of some kind,

‘2 put those are now being e-mailed to the office where

3 the deposition's being taken; is that correct?

4 A Yes.

3 QO Okay. And they're being printed out; is ih
6 that correct?

7 A That's what I understand.

8 QO Okay. All right. Now, iet's go through

9 the materials that you brought with you or are being }
10 sent in, if we could.

11 A Okay.

12 Q Tf you look at your deposition notice, we

13 were asking for your entire file in this case. Did

14 you bring your entire file between what's being sent

 

 

15 in and what's in front of you right now?

16 A As far as I know.

17 QO Okay. A copy of all communications,

18 whether written, electronic, or otherwise ~~ received

19 or reviewed by you relating to the case. Did you

20 bring that?

21 A I don't think that's on the thumb drive.

22 MS. RICHARDSON: What?

23 | QO (By Mr. Kraeuter) Sir?

24 A The thumb drive does -- I inadvertently did

25 not put on there the Outlook files.

 

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1 MS. RICHARDSON: Are there any, are there

2. any written communications with us?

3 THE WITNESS: Written. communications?

4 MS. RICHARDSON: Yeah.

5 THE WITNESS: No. I thought, I thought you

6 were asking about e-mail.

7 MS. RECHARDSON: Do we even have -—-

8 MR. KRABRUTER: Yes.

9 MS. RICHARDSON: -- e-mails?

10 MR. KRARUTER: E~-mail.

11 THE WITNESS: I did not put the e-mail on
412 thumb drive by oversight. I intended to, but --
13 Q (By Mr. Kraeuter) All right. Mr. Blount --.|
14 A ~~ T'li be glad to send it to you.

15 Q -- how do we get those documents?

16 A Well, you can, you know, look up my Outlook

17 file. I could send you the Outlook file.

18 MS. RICHARDSON: Are they just e-mails with
19 us?

20 | . THE WITNESS: No. Tt's also e-mails with
21 the people that work with me on the case.

22 MS. RICHARDSON: Ahh. Okay.

23 MR. KRABRUTER: Yeah. Lisa, how are we

24. going to get those?

29 MS. RICHARDSON: Well, Scot, I mean, the

 

 

 

 

 

 

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Page 8
ones with our office to the extent that they're
discoverable -- and under the new rules they're
not all discoverable -- I can pull them and have
someone send them. But his office -- is there
someone at your office who can pull your
Outlook?

THE WITNESS: (Witness shakes head.)

MS. RICHARDSON: Okay.

THE WITNESS: Sorry.

MS. RICHARDSON: Well, let's --

MR. KRABUTER: Lisa, I would agree that an
e-mail between your office and Mr. Blount about,
you know, drafting his report and drafts of his
report is not discoverable, I agree with that,
but anything else is.

MS, RICHARDSON: I'm not arguing that's

it's not. What I'm saying is I can get my

office to send our e-mails, but he's got e-mails

with his people that I obviously don't have
access to. So we can do one of two things: We
can stop the deposition and go get them, or we
can get them to you and we can reconvene the
deposition if you feel the need to ask questions
about them at a later date.

MR. KRAEUTER: Yeah. Let's, you know, get

 

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1 them to me. JI don't want to slow down today. I

2 want to keep moving and get as much done as we

3 can.

4 MS. RICHARDSON: So get them and we can
5 reconvene if you want to. Is that what you're

6 saying?

7 MR. KRAEUTER: Yes.

8 MS. RICHARDSON: Okay.

9 MR. KRAROUTER: Sure,

10 MS. RICHARDSON: Okay. That's fine.
11 THE WITNESS: I'll get them sent down to

12 you -- |
13 MS. RICHARDSON: Sure.

14 THE WITNESS: -- this afternoon,
15 MS. RICHARDSON: That's fine. Okay.
16 Q (By Mr. Kraeuter) The next category is a copy

17? of all reports prepared by you or received by you which
18 relate in any way to the facts of this case. Do we i

19 have all those documents?

20 A Yes.
21 Q Okay. And the next category is all
22 documents and records reviewed by you or considered |

23 by you in conjunction with this case. Do we have
24 those documents?

25 A As far as I know.

 

 

 

 

 

 

 

 

 

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QO The next category is "all documents and
records reviewed by you or considered by you in
preparation for this deposition." Do we have all
those documents?
A As far as I know, yes.
Q All right. The next category is, "The

results of all research done by you or for you

 

 

relative to this case." Do we have those documents?

A I believe so.

QO And the next category is “an up-to-date |
resumé." Do we have that?

A Yes. There's been no change since the
report.

QO Okay. The next category is all notes,
records or other materials maintained by you on
computer or other electronic means related to
Jacquelyn Orr, Macy's Retail Holding, or the incident
that is the subject of this lawsuit. Do we have all
those documents?

A Yes. That's on the thumb drive being
printed out.

QO Okay. The next category is a copy of all
communications, whether .written, electronic or

otherwise, sent or received from any attorney or

 

 

staff member of Drew Eckl & Farnham.

 

 

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Ana I think we've covered that Lisa,
correct?
MS. RICHARDSON: Yes.
MR. KRABRUTER: Okay.
Q (By Mr. Kraeuter) The next is all billing |
information, including engagement letters, invoices,

 

 

and payments regarding Macy's Retail Holding and Drew |

meebetvierent

Bckl & Farnham. Do we have those documents?

A Yes. That's in the admin folder.

oO All right. K, a list of all -- let's see.
"A list of all cases in which you've testified at
trial or in deposition for the last five years." Do
we have an updated list on that?

A I think there's only one case maybe since

 

 

the one that's listed in the report. I had a
deposition I believe last week that I've not put on

the list yet.

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Q And what case is that, sir?
A Hang on just a minute. Let me see if I can
find that.

MS. RICHARDSON: Hang on just one second,
Scot.

(Whereupon, a brief recess was taken,)}

THE WITNESS: Okay. Back to -- hang on

just a minute. I got that.

 

 

 

 

 

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MS. RICHARDSON: Sure.

THE WITNESS: May have that here.

Okay. The case was Kimberly Blackmon,
B-L-A-C-K-M-O-N, versus Timothy Hairstin,
H-A-I-R-S-T-I-N, and Hobart Corporation,
H-O-B-A-R-T, in Clayton ~~ State Court in
Clayton County. I testified in an August
deposition on my expert report regarding proper
billing and reasonable charges for amoulatory
surgery center and professional fees. And I was
engaged by Nikolai Makarenko, M-A-K-A-R-E-N-K-0,
with Groth & Makarenko in Suwanee, Georgia. So
that case =-- that testimony is net on the list
that's contained in Appendix B in the expert
report for this case.

Qo (By Mr. Kraeuter) And who was opposing
counsel on that case? Who was the plaintiff's lawyer?

A I don't know.

Q Okay. All right. The last category of
documents is a list of all case in which you've been
retained by Drew Eckl & Farnham, LLP. Do you have
that, sir?

A I apologize. I just got back from a week
in Canada Sunday afternoon and just -- I thought this

stuff was ready to go, and it's not. Let's see.

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Page 13

Drew Eckl & Farnham.

Qo And I'm not talking, Mr. Blount, about |
testifying in deposition or trial.

A I understand.

QO I'm talking much more broader than it.
Just being retained.

A I think there's one other case. Let me see
if I can find it. Just one second.

 

 

Okay. Last year I was retained by Drew

mer arrears

Eckl & Farnham -- oh, I'm sorry. That's not --

that's another Drew. Sorry.

 

 

All right. Just -- I think it seems like
there is another case, but I don't see it on my list

right now.

TRa nA ia Mas OEE Masini ete Ei

MS. RICHARDSON: Tt would probably be with
Jeff Ward.

THE WITNESS: Yes.

MS. RICHARDSON: Can you search Jeff Ward?

THE WITNESS: Yes. Let me. Okay. That's:
good.

MR. KRABUTER: What was the case, Lisa?

MS. RICHARDSON: I said it was probably

with Jeff Ward. I suggested he search Jeff

 

 

Ward's name.

MR. KRAEUTER: Thank you.

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Page 14
MS. RICHARDSON: He's going to do that.
THE WITNESS: I've got other Wards in here
too. I'm sorry.
All right. I don't see it on my cumulative
list, but I know there was -- there has been
another case. So it's just not posted to that

listing. Let me look here in my Outlook,

Okay. Yes. The case was Huntoon versus
Wal-Mart.
QO (By Mr. Kraeuter) And what court was it

pending in?
A Tt doesn't say in the engagement letter.
Let me see if I can -- just a minute -- if I can find

an e-mail that might have a document in there with

it.

Here it is; the report. That's the
outline. Just one moment.

Okay. I think I found the full text of the
report. Okay. This was in -- this was Case Number

4:15-CV-00319 in U.S. District Court for the Southern
District of Georgia, Savannah division. Vivian --~

Q And what was the name of the plaintiff?

A Vivian Huntoon, H-U-N-T-O-O-N, versus
Wal-Mart Stores, Inc. That was back in -- the report

was issued April 2nd, 2016. As far as I can recall,

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Page 15 |
that's the only other engagement that I've had with
Drew Eckl & Farnham.

QO Okay. Now, Mr. Blount, are all of your
opinions contained in your expert witness report?

A All of those that I've expressed.

Q Well, do you have any other opinions in
this case that are not expressed in that report?

A If asked, I might have an opinion. JI don't

know.

Q All right.

A But all the opinions that I've expressed
are in the report.

QO All right.

A I may be asked to express other opinions.
You may ask me to express an opinion, and Drew Eckl &
Farnham may ask me to express an opinion. The judge
could ask me to express an opinion.

Q Do you have any more work to do in this
case? -

A Not that I've been asked to do,

Okay.

 

 

MS. RICHARDSON: Hey, Scot. This woman

Pt Rega Rh

just walked in with some printed stuff. Can we
stop for a second and let him look at it? I'm

not sure this is everything, but I want him to

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Page 16

cneck.

THE WITNESS: Oh, no,

MR. KRABUTER: Sure.

MS. RICHARDSON: That's not it?

THE WITNESS: There were —-

MS. RICHARDSON: I didn't think this could
possibly be it.

THE WITNESS: There was, like, 20 or more.

MS. RICHARDSON: Okay.

THE WITNESS: All right. Let me show you
the Word document. I mean the --

MS. RICHARDSON: Let's take a break, Scot,
and let him go show her what's on here.

(Whereupon, a brief recess was taken.)

QO (By Mr. Kraeuter) Now, Mr. Blount, can we
agree that there is no definitive book, treatise, or
publication that says doctors and ambulatory surgical
centers must follow either Medicaid, Medicare, VA,
Physicians Fee Reference usual, customary, and
reasonable databases in setting their fees?

A Yes,

QO Okay. Now, you used to work with a
gentleman by the name of Curt Udell; is that correct?

A I still do.

O You still do.

ara rasa

 

 

 

 

 

 

 

 

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Page 17
Okay. And he works in your company; is
that correct?
A No. He's an independent contractor.
QO Okay. Was there a time when he worked in

the same company as you did?

A Yes.

Q And what company was that, sir?

A Healthcare Management Advisors.

Q And were you the owner of that company?

A Most of the time.

0 Okay. Was Mr. Udell an owner of the
company?

A No.

QO Okay. He was an employee?

A Yes.

QO How long did he work for you at that
company?

A IT don't recall.

QO A number of years?

A Yes.

Q Okay. And you said you still work with him
now?

A TI don't know if he's current -- I think he

 

 

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is currently working on a project for me, yes, right

now.

 

 

 

 

 

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use, though.

Page 18
Q Okay. So you --

A Maybe not right now this minute, but he is |

currently engaged to perform some professional tasks.

QO Okay. So from time to time you still hire

 

 

him as an independent contractor to work with you on

certain matters that you and your company handle; is

that fair?
A Correct.
oO Okay. Now, were you aware that Mr. Udell

had a methodology of coming up with the
reasonableness of medical bills by looking at the
Medicare rate and multiplying it by 2.5 times? I

A He has used that method. Yes.

 

 

Q Okay. And do you have an opinion as to
whether that's an appropriate method to determine

reasonableness of medical bills?

A It could be. I mean, it is used

frequently. It's not the method that I typically

QO Who else uses that method?
A I've seen other expert reports I believe

that have used that methodology, but I don't recall

 

 

their names right now.
QO And why would that methodology be used to

look at the Medicare rate and multiply it by 2.5

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Page 19]
percent? Or, excuse me, not 2.5 percent, but 2 and a |
half times the Medicare rate.

A Because a lot of physicians use that

formula to establish their fee schedule.

Q To establish their fee schedule?
A Yes,
Q Okay. And so we can agree, Mr. Blount,

that there are other ways of determining the
reasonableness of future medical biils other than the
way you did in this particular case; is that correct?

A Yes. |

QO ~ And so I guess another way to say it is:
Your way of determining the reasonableness of medical
bills in this case is not the only way?

A Well, if you'll look at our report, I
didn't use one way. I cited multiple sources and
methodologies to evaluate the reasonableness,

Oo I understand. But can we agree on that
statement that the way that you did it is not the
only way to determine reasonableness of medical
bills?

A Weil, you should say way with a plural; the

Patan ONO aI

ways that I did it.
Q Mm-hmm. Okay.

A I did it multiple ways.

 

 

 

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Page 20

QO So can we agree that there are different
ways to determine the reasonableness of medical bills
other than the ways that you did? |

A Yes. .

Q All right. het me have you take a look at
Exhibit 69, please.

MS. RICHARDSON: It's going to be in this
stack.
THE WITNESS: Oh, okay. It's at the top.

I'm sorry. Iwas flipping. Yes.

QO (By Mr. Kraeuter) Okay. This is an excerpt
from the book that you wrote; is that correct?

A From one of the two books.

0 Okay. This is the third edition. That's
the last book that you're credited on; is that
correct?

A Correct.

QO Okay. There's been a fourth edition, but
you didn't receive credit for that publication; is
that fair?

A That's correct.

Q Okay. And in your book you talk about the
usual, customary, and reasonable method of coming up
with medical fees?

A Yes,

 

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Page 21

0 Okay. And you say in there, "Historically,
commercial and Blue Shield plans have based provider
payments on the lowest of the following." And then
you kind of go through the category. "The provider's
most frequent charge"; that's usual. "The average
charge by providers in the area"; that's customary.
And “the actual charge appearing on the claim for the
services"; that's the reasonable part. Do you see
that, sir?

A Yes,

Q So when you talk about usual, customary,
reasonable, that's the methodology you're talking
about; is that fair?

A At that time, yes.

QO Has that changed since your third edition
was published?

A Well, the UCR that's referred to in my
report in this case refers to the UCR data contained
in the published sources that we cite in the report.

Q Okay. The customary portion of that UCR
data, is that still the average charge by providers
in the area?

A Some payors do use that definition.

Q Okay. So under that definition, half of

the charges in an area are higher than the UCR

 

 

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Page 22
charge, if you look at averages?
A Yes.
QO Okay.
A That's not the, that's not the -- that's

not how the data sources that we used in this report
are derived.

Q Ail right. How do the data sources you
used in this case define what's customary?

A I'm not sure if they have a specific
definition for "customary." They have tables of data
that contain the charges at the 50th percentile, the.

75th percentile, and the 90th percentile. So

Q And you're referring to -- go ahead.

 

 

A So there ~~ in those publications, there
are no averages that are reported. |

Q Okay. When we talk about those
percentiles, those come out of PMIC book?

A And PFR,

Q Okay. Do you know how the data that you
used defined "usual"?

A Not off the top of my head. I don't know
if they did define "usual."

Q All right. Do you know how the data that

you used in this case defined "reasonable"?

 

 

 

 

 

 

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Page 23

A Not off the top of my head. I don't know
if they defined it.

oD Okay.

A I could look it up.

Q All right. So you don't know the
methodology behind these data -- this data that you
used, the methodology that the providers in the data
used to come up with usual, customary, reasonable
charges?

A I know how they came up with the 50th,
75th, and 90th percentiles.

0 I understand.

 

 

My question was how they came up with the

usual, customary, and reasonable charges. You don't
know the methodology that was used in the underlying
data?

A I think I do. Yes.

0 Piease tell me it.

A They obtain charges for -- by CPT code from
all the sources that they use. And they array those
charges by CPT code from low to high, or high to low.
And then they count down to the 75th -- the 90th, the

75th, and 50th percentile points in that array, and |

 

 

those are the numbers that are published in their

data.

 

 

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QO And where did you get that information that
that is the methodology that was used?

A From their publications.

QO Now, you referred to CPT codes. And CPT
stands for Current Procedure Terminology; is that
correct?

A That's correct.

Q And the purpose of a CPT code is to
identify and differentiate the various medical
procedures?

A Yes.

Q And in and of itself has nothing to do with
the charges for a particular medical procedure?

A Well, it -- it's the, it's the numerical
equivalent of the definition -- or description of the
service that's being billed.

O- Right.

But the AMA book on CPT does not reference
a charge or a fee next to it, does it?

A No. It has no charge values in there.

QO Okay. Now, tell me all the cases you've
been an expert in where the court has either limited
or prohibited your testimony.

A In -- there was a case here in Atlanta, a

malpractice case, where my testimony was excluded

 

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because it -- I think the judge basically determined
that it was irrelevant to the malpractice issue
because my deposition testimony dealt with how the
physician had collected an amount in excess of what
Medicare would allow. That was -- let me look back
at my list here, my testimony. It's on the list
there. It's on Appendix B. And that would be
Santrell Bell versus Burroughs and the Georgia Center

for Bariatric Surgery.

QO Tt's on the bottom of the first page, sir?
A Yes.
Q Okay. Any other cases your testimony has

either been excluded or limited?

A It was limited in another case where I
test -- yeah. Same thing -- where I testified. It's
on the list here. Just a minute and I'll find it.
Glenwood Systems versus Augment Technology Solutions

in two thousand --

Q Okay. That was the one out in California?
A Yes.
O- Okay. And was your testimony excluded, or

limited in that case?
BK Limited.
QO Okay. And how was it limited?

A I think the judge ruled in response to a

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Page 26
motion in limine to -- that he was not going to allow
me to state a legal conclusion that was contained in
my expert written report.

Q And what conclusion was that, sir?

A That I had not seen any evidence that the
defendants had used any proprietary information in
their activity.

QO Okay. Any other cases where your
testimony's been limited or excluded?

A Hang on here. Let me look for another
couple here. Just a minute and T'li tell you.

There was a case in Texas before the Texas
Medical Board administrative law judges, I think,
several years ago. Let me see if it's here in my
list. Yes; in -- on the second page of Appendix B.

In the matter against --

0 In the matter of --

A -- Reginald --

Q -- Reginald Buford?

A Correct.

Q Okay.

A I was not allowed to testify about some CPT

coding rules and was limited to testifying about the
reasonableness of the charges.

QO What specifically were you not allowed to

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Page 27
testify about regarding CPT codes?
A I think 1t was the, the parts of the
report -~ we had issued a joint report in that case.
T had signed it as well as Dorothy Steed, one of my
senior CPT consultants. And she was not present at

the hearing and the defense counsel objected to me

 

 

citing any of the parts of the report that she had
been responsible for.

Oo Okay. Any other case your testimony has
been limited or excluded in?

A Not that I can recall right now.

oO All right. Well, let's talk about the
Goldman case. .Do you remember that case?

A No. Tell me about it.

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oO That was, that was the one up in
Philadelphia.
A Goldman. Oh, was that -- Philadelphia.

oe Bugene Goldman, M.D.

A Oh. Was that the hospice director?
QO That's right.

A Okay. Yes. I remember that.

Q Fnat was --

A Yes.

QO That was the case where the federal

government indicted Dr. Goldman for illegally

 

 

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receiving kickbacks?

A Yes. h

0 And you were scheduled to testify in that
case?

A Correct.

And your testimony was excluded in that

case; is that correct?

A Well, basically I, I was asked on, like, a

caterer

Thursday before the Monday hearing if I could help
the defense counsel in establishing what the typical

salary was for a hospice medical director. And I

 

 

explained to him that that's not my area of

expertise, but he asked if I could still do the

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research and come to Philadelphia to attempt to get

that into the record,

Oo Okay.
A SO -—
QO So you agreed to, you agreed to serve as an

expert for Dr. Goidman; is that correct?

 

 

A Yes, I --

fe
0 Okay.
A Well, I agreed to do the research on what

the typical medical director compensation was for a
hospice of that size, and to be in Philadelphia at

the courthouse available to testify. I don't know

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whether the intent was to present me as a fact
witness or as an expert. But I went to the hearing,
went to the trial, and before the jury was called in f
the assistant U.S. attorney in the voir dire process
asked me if I was an expert in. physician compensation
or medical director compensation.

And I answered, no, I was not, but that I
had reviewed the reasonableness of compensation
amounts for multiple physicians and executive
positions within Medicare-certified facilities as
part of the work that I had done over the past
30-plus years with Medicare cost reports and related
appeals. And the judge basically said that he did
not see that I would need to testify, and he excused

me,

 

 

Q All right. So let's be clear whether you i

were going to be testifying as an expert witness in
the criminal case of Dr. Goldman or as a fact witness
in the criminal case of Dr. Goldman. You agreed to
testify on his behalf. Is that true?

A Yes, I did.

Q Okay. But you did not actually testify
because the court did not allow your testimony; is
that correct?

A Yes,

 

 

 

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Page 30

QO Okay. And were you aware that Dr. Goldman
was found guilty in that case?

A Yes.

Qo And that he received 51 months in federal
penitentiary for cheating the taxpayers?

A No. I did not know the sentence,

QO Not aware of that? Okay.

A No.

Q Now, I understand that you advertise in --
on a website called ExpertPages?

A Yes. I think that's one of the listings
that we have.

oO As well as Martindale-Hubbell, which is
also an internet listing; is that correct?

A I don't know if I pay anything to
Martindale-Hubbell. I'd have to look and see. There
is about five or six Listings that we pay a couple of
hundred dollars to a year for listings. |

QO You are listed on a, on a site called ALS;
is that correct?

A I think so.

QO What's, what's ALS stand for?

A I don't know.

QO You're aiso listed on a website called

Insurance Pro, correct?

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Page 31
A I don't know. TI don't recall that one.
0 Okay. What others do you recall? You said

there is five or six different expert listing sites
that you advertise on so that you can get business.

A Well, most of our business comes through
Google searches from what I can tell, but the
listings that I can recall right now would be
Experts.com, ExpertPages. Those are the only other
two I can think of off the top of my head, |

0 Okay. Let's take a look at Exhibit 70,
please, sir.

A Okay.

Q Is this your listing that you have in
ExpertPages.com?

A It looks like it.

QO Why don't you take a look at it and let me
know if that's the case.

A I know there's quite a few pages here. I'd
have to go to the website and compare it, but I trust

that you extracted it properly.

Q Well, take your time and look at it, sir.
A I've looked at it.

QO Tell me if this looks like your web page.
A It does not look Like my web page.

Q Doesn't look like your listing on

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Page 32
BhxpertPages.com?
A That's a different question.
0 That's the question I'm asking right now,
sir.
A Well, previously you asked me does this

look like my web page. My answer to that was "no.

@) And, sir, I asked --

A Tf the question is --

Q Sir, and IT asked a follow-up question. And
IT would like you to answer the follow-up question,
please.

A Which is?

Q Ts this your listing on ExpertPages.com?

A It looks like it.

Q Okay. Let's go to the second page, please,
sir. About the middle of the page there is an entry
that says, "representative engagements." Do you see
that, sir?

A Yes,

0 Okay. And below it there appear to be a
number of sentences that appear to be your

representative engagements; is that correct?

A Correct.
QO And are these representative engagements
accurate?

 

 

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A As far as I know.

QO Did you have to fill out some documents or
some information for ExpertPages.com to list your
representative engagements?

A I believe so.

Q Okay. And you checked over what was sent
to ExpertPages.com to make sure it was accurate
before it went out?

A Yes,

0 Now, let's go to the representative
engagement that's second from the bottom. Do you see
that?

A Yes.

QO All right. And tell me what that

representative engagement is, sir.

A You mean read you the description?
QO Sure,
A "Developed proforma detailed hospital and

physician bill totaling over a million dollars for an
attorney representing a burn victim treated by a
hospital that does not charge for its services."

QO Okay. Tell me what that case was about,
sir.

A Okay. Just one second.

Name of the case is Sanders versus South

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Page 34
Louisiana Electric Cooperative Association. It's a
medical damages case in Houma, Louisiana. I was

engaged in 2006 by William S. Bordelon with Bordelon
& Shea in Houma, Louisiana on behalf of the
plaintiff. The case settled after my expert report
on the proforma amount of expected medical charges
was produced.
| This case involved a -- I believe a
teenager, maybe 17 or 18 years old, male who was
hunting I believe the day after Thanksgiving. And
wnile in a wooded area saw a line across the ground
and touched it with the barrel of his shotgun or
rifle and was electrocuted. He was airlifted to, I
believe, the Shriners burn hospital in Houston and
was treated for burns over 70 percent of his body and
in the hospital for about 30-something days and then
rehabilitation, I believe, for another 30 to 60 days.
And we were ~~ Health Law Network was engaged to take
the medical records in that case and develop a
proforma hospital and rehab services bill, which we -
did.

Q Now, you understand that Shriners Hospital
does not charge its patients a penny, correct?

A Thus, the engagement.

QO And that Shriners Hospital keeps its doors

 

 

 

 

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Page 35
open from donations from the public to help people,
children, that have been burned or electrocuted; is
that correct?

A That's what I understand.
QO Okay. And so, according to Shriners
Hospital, the reasonableness of their medical bills

ie
was zero, correct?

A I wouldn't say that. No, I wouldn't.
oO You would not?
A I don't think Shriners has an opinion on ~-

they don't have any bills. All they have are medical
records.

0 And so what you did in this case in

 

 

Louisiana is looked at the medical records, conjured
up what tne bills would be if Shriners actually
charged a fee so that plaintiff could recover those
bills as damages in the lawsuit, correct?
A No conjuring was involved.
I see.
Everything else is true in that statement,

correct?

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A What we did was to show what charges would
have been for these services in the normal
environment for a hospital and rehab provider.

Q Right.

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Page 36
But for the goodness and grace of Shriners

what this kid's medical bills would have been, Fair?

A I guess you can say it that way.

Q Tell me, sir, how you set your rates.

A About every couple of years I get a survey
from -- | think it's ExpertPages on expert fees. And

I basically use that to establish my rates.

Q Okay. And you charge $395 for research,
evaluation, and preparation of reports; is that
correct?

A Yes.

Q And you charge $525 for deposition
testimony, trial testimony, plus out-of-pocket travel
costs; is that correct?

A Yes.

Q Okay. And essentially in looking at
ExpertPages to come up with your rate you're charging
what the market will bear; is that fair?

A I don't know. I'm charging a rate that's,
I believe, consistent with the survey results.

Q Okay. Do you have a problem with
physicians, hospitals, and amoulatory surgery centers
charging what the market will bear?

A I'm not sure what you mean by "a problem."

Q Well, do you have an issue or a criticism

 

 

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with Health Law Network.

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the hour.

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Page 37
type of fee arrangement?
Not, not in general.
Okay. Now, did you do all your work on

by yourself, or did you have other people

There were other people involved.

 

 

Who else helped you?
Let's see. It's mentioned in -- it's |
in the report, I believe. , |

That would be Dorothy Steed and Jessica

Yes. I believe so.
And who are they, sir?

Two of the senior consultants that work

And how much do: you pay those folks, sir?
I don't know off the top of my head.

You don't know what you pay them per hour?

 

 

No. I dontt recall --

Do you know --

-- right now. |

Do you know what their salary is?

They don't have a salary. They're paid by

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They're independent contractors,

Okay. But you have no idea what the hourly

 

 

 

 

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rate is?
A Well, it's certainly -- it's something less
than what we bill. -
QO So it wouldn't be 395 for research,

evaluation, and report prep?

A No,

oO Okay.

A That's, that's my personal —--

QO And --

A -- rate.

Q Okay. And you said that you would, you

would pay these people less than you charge in this
case. Is that because your company has to make a
profit?

A Well, we don't have to, but it is
desirable.

Q Okay. I mean, that's, that's why you're in
business. You're working to make a profit, are you
not?

A Well, I also enjoy the work.

0 I understand.

But would you work for free?

A I have from time to time.
Q Would you work for free on this case?
No,

 

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Page 39

QO So how much of the work in this particular
case with Jackie Orr was done by these other ladies?

A tT would have to go back to the invoices and
see. Just one moment and I'll tell you.

MS. RICHARDSON: They're printed out too.

THE WITNESS: Okay.

MS. RICHARDSON: Some of them.

THE WITNESS: I think there's two invoices.

MS. RICHARDSON: Is there more? Okay.

MR. KRABUTER: Yeah. Let's see.

THE WITNESS: 23. Maybe there wasn't.
Maybe there was just that one invoice.

Okay. They spent two hours.

Q (By Mr. Kraeuter) And you spent how many
hours, sir?

A 13.4.

Q Okay. Now, have you ever submitted the
methodology that you used in this particular case to
come up with the reasonableness of medical bills for
a peer-review study?

A No.

QO Do you know what the rate of error is for
your opinions?

A No. I don't know of any errors.

OQ Now, in coming up with your opinion you

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relied exclusively on data, as you've said; is that
correct?

A Published data..
QO Published data.
And that published data came from the
American Hospital Directory; is that correct?
A That's one source.
Q Okay. U.S. Department of Veterans Affairs;

is that correct?

A Yes.
QO The Physicians' Fee Reference book,

correct? i
A Yes,
Q And the Practice Management Information

Corporation medical fees book; is that correct?

A Yes,
QO It's also called the PMIC; is that right?
A Yes.

Q Okay. And what other data did you rely on?

A I believe we also looked at billed charges
to Medicare patients.

Q Medicare. Okay.

Now, if F understand your methodology in

 

 

this case correctly, without the data from those

entities we just discussed you would not be able to

 

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come up with an opinion on the reasoriableness of
medical charges for the different procedures that

Ms. Orr had or will have; is that correct?

A Well, if I didn't have those data points, I

would look for other data points.

0 I understand.

A I would not say that these are the only
possible data points out there, but they're the ones
that I used.

QO Okay. And if we take those away in this
case -—- because these are the ones you chose to use,
if we take those away, you don't have a basis for
your opinion; is that fair?

A Well, there was other peer-review research
showing typical charges and costs for this type of
case that you didn't mention earlier.

Q Okay. And that's the --

A °° So I'd still have that.

Q Okay. And that's the spinal cord

stimulator?
A Spinal cord stimulator research.
Q Okay. Do you have any personal knowledge

of what data Medicare, VA, the American Hospital
Directory, PMIC, and Physicians' Fee Reference

collates?

 

 

 

 

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Page 42
1 A Yes.
2 QO Okay.
3 A Well, I'm not sure what you mean by
4 "collate," but I do have a general understanding of
5 their sources of data,
6 QO Okay. You have personai knowledge of that,
7 or has someone told you that?
3 A Well, I've read that -- read their sources

9 in their publications. And I've also talked to Russ
10 Wasserman, I think; one of the publishers at PFR.
11 QO Have you talked with anyone else at the
12 other entities that we've discussed?

13 A I have had discussions with some

14 representatives from the VA. And I have discussed
15 sources -- or I've had discussions with American

16 Hospital Directory staff also.

17 QO And these discussions with Mr. Wasserman,
18 the VA representatives, and the American Hospital
19 Directory representatives, did they regard the CPT
20 codes for this particular case?

21 A No.

22 Q Okay. Do you have any personal knowledge
23 as to whether these entities keep accurate records?
24 A Well, the American Hospital Directory

25 derives their data for the parts that I use from

 

 

 

 

 

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certified Medicare cost reports that require a
certification by an officer of the hospital, so they
are swearing under oath that those are accurate
numbers.

QO Is it Medicare that's swearing those
numbers are accurate, or the hospital representative?

A The hospital representative.

Q Okay. Do you have personal knowledge of
how these entities enter their data?

A I'm not sure what you mean by “enter their
data."

QO Well, what I understand what you used in
this case was a compilation of data to come up with
your opinion as to the reasonableness of medical
bills in this case. So my question is: Do you have
personal knowledge of how these particular entities

that you relied on enter their data into their

database?
A Well, it's not like they're keying in data,
if that's what you mean by “enter their data." They

are acquiring data files from different sources,
including managed care organizations, billing
services, insurance carriers, Medicare, FAIR Health,
Millimn & Associates; you know, multiple data

sources. And I believe that most all of those -- all

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Page 44
of that data comes electronically. So if you're
concerned about --

QO And somehow -- go ahead,

A If you're concerned about a key punch
error, I think that's not likely to occur because
they're not keying in data.

QO Well, somehow all of the raw data that
comes in to these various databases has to be put

into the database.

A Yes.

QO Correct?

A Tnat's correct.

Q Do you have personal knowledge as to how

that is done?

A Not personally. No, I don't.

Q Do you have personal knowledge of the rate
of error contained in these databases for these
entities we've talked about: Medicare, the VA,
American Hospital Directory, PMIC, Physicians' Fee
Reference?

A No. And I don't know that there are any
errors. I've not seen any evidence of that.

Q Have you ever seen the raw data that's used
by these entities to come up with its fee database?

A In the past years I have.

 

 

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Page 45
oO And how have you seen that and when have
you seen that?
A In, in several past years we actually

purchased the data from CMS.

QO Okay. Is it your testimony that the data
from CMS, the Centers for Medicaid Services, is the
basis for all of these other databases?

A No.

QO . Okay. What other raw data is used in these |
particular databases of these entities we've been
discussing: Medicare, the VA, American Hospital
Directory, PMIC, Physicians' Fee Reference?

A Well, we mention on page 6 of 10 of my
report, number two, the PMIC database was derived
from over 400 million actual submitted charges
obtained from a variety of sources, including
third-party payors, group practices, clinics,

universities, and practice management system vendors.

 

 

oO And you've seen never seen that raw data?
A Not the current data that they have. No,
Q Have you ever seen the raw data --

A Like I --

Q -~ that PMIC has used?

A PMIC also uses Medicare-charged data, and I

have seen that raw data; not --

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Page 46
QO i'm talking, I'm talking about from
physicians, hospitals, insurance carriers, and other
health care professionals. Have you ever seen that
data?
A- IT have seen third-party payor data. I've

seen group practice data. I've seen clinics charge

 

 

data. I've seen universities medical centers charge |
data. And I've seen practice management system |
charge data.

QO And are you --

A So I've seen --

Q -- are you saying --

A -- I've seen examples, I believe, of all of
these.

Q All right. Are you saying you've actually
seen the raw data that PMIC uses from those entities?
A No. I've seen data that they describe,

though.

QO All right. Have you seen data that PMIC
uses that you used in this case; the raw data that
PMIC used that you then derived your opinion from?

A No.

0 Do you know the sample size for the
Medicare, VA, American Hospital Directory, PMIC, and

Physicians' Fee Reference data?

 

 

 

 

 

 

 

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Page 47
A Well, some of those may be based upon

samples, but not all,

QO So --

A Many --

Q -- do you know the sample size?

A Many of those are 100 percent sample sizes.

Q I’m sorry, sir?

A Many of those, I believe, are 100 percent
samples.

Q What does that mean, "100 percent samples"?

A That means all of the data.

QO I'm not following what you mean by that,
sir.

A A sample is a subset of the universe.

Universe would be a hundred percent of the data
that's available.

Q So it's your testimony that American
Hospital Directory uses 100 percent of ali the
medical billing data available in the United States?

A They use a hundred percent of the data file
that they purchase from CMS which contain -~

QO Okay.

A -- which contains all charges for all
hospitals by DRG in instances where 11 or more

patients for that DRG are reported. So it would

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exclude those DRGs where there are ten or fewer

instances,
0 And a DRG is what, sir?
A Diagnosis-related group.

QO Okay. And the CMS data is what, sir?

A The Medicare paid claims file.

Q So American Hospital Directory, if I hear
you correctly, is based a hundred percent on the
Medicare information; is that correct?

A It's based upon the charges on the Medicare
claims that have been paid.

oO Okay. Which is the same as the Medicare
database that you used in this case; is that correct?

A It's one of them.

Q Okay. So essentially it's one in the same,
When you look at American Hospital Directory, you're
looking at the same data you've already looked at
under Medicare?

A Not necessarily. There's also another
database for Medicare that includes all D -- all
charges by DRG for all hospitals, even those that
report less than 11 per DRG. That's available on a
state-by-state basis and nationally. .

QO Well, let me ask it this way: Is there

anything in the American Hospital Directory data that

 

 

 

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Page 9 |

you couldn't get from Medicare directly?
A Yes.
Q What?
A The identification of the hospitals within

a certain radius of a zip code or a specific
provider. And then there's other non-Medicare data
that's in the AHD database too, like their financial
statements. |

QO Do you know if any of the data used in this
case from the Medicare, VA, American Hospital
Directory, PMIC, or Physicians! Fee Reference
databases came from the Savannah, Georgia area?

A Yes.

O What data?

A Hospital charges.

0 What database?

A The medicare database.

QO And what hospital charges came from the
Medicare database?

A Just a minute.

All hospitals that reported DRG 29 in 2014,

) Can you name those hospitals, please, sir,
that are in the Savannah, Georgia area?

A Hang on just a minute. Let me see if

that's in here.

 

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i believe that's Memorial University
Medical Center and St. Joseph's Hospital.
Q And how many entries did they have,

respectively, under DRG 029?

A Just a minute. We actually use two
different DRGs: 029 and 520. For 520 -- just a
minute. Let's see -- Memorial University Medical

Center had 20 cases. Their average charge was
$25,764, St. Joseph's had 24 cases. Their average
charge was $26,940. And let's see if I've got any
others. Just a minute. That's all 520.

So I did not find any in Savannah -~ any
hospitals that reported 11 or more cases. The
closest hospital we could find that reported at least
11 cases was Medical University of South Carolina and
Charleston. And for DRG 29 they had 14 cases and
their average charge was $79,307.

Q Okay. And where is the University of South
Carolina hospital located, sir?

A I said Charleston, South Carolina.

QO Charleston.

All right. And do you consider that to be
in the Savannah, Georgia area?

A Not necessarily, but it was the closest

hospital that had at least 11 instances reporting.

 

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Q

Charleston, South Carolina is two, two anda half

hours away from Savannah?

A

not that far, not that much time. If you walk, it

could be much longer.

Q
A

DRG 520.

A

Q
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Q

neck procedures except spinal fusion, correct?

A

Q

cord stimulator, is it?

A

Q

Page 51
Okay.

btrsitinsintrtterrchererremeres ery

We looked at --

You would agree that, you would agree that

Depends on how you go. If you fly, it's

How about if you drive it, sir?

About two and a half hours, I guess.

 

 

Yeah.
So let's talk about DRG 250. Excuse me,

Sane narunenna ee

Okay.

Show me where that appears in your report.
T don't think we put that in the report.

I see.

I don't see that.

Now, DRG 520 is a reference to back and

 

 

That's correct.

Okay. It is not a reference to a spinal

No.

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Okay. And you can agree that different

 

 

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Page 52

procedures with different CPT codes or different DRG

codes have different costs, correct?

A Yes.
QO Okay. Do you have any evidence that DRG
520 -- that that code applies in any way to spinal

cord stimulators?
A Tf I'm recalling correctly, I think that

DRG 520 was identified in the Medtronic's

 

 

publications as a DRG that is sometimes used for that
device.
oO Well, let's go to Exhibit 72,. please.
Can you show me where that DRG code comes ||

up in that document; in the Medtronic document 72?

A Let's see. Yes. j
QO Where is that, sir?
A Well, you don't have your pages

sequentially numbered maybe. Or you do too. Okay... -
So look on page 12 -- I'm sorry, 13. In the bottom
right-hand corner is the number of the page. About

almost halfway down the page DRG 520 is identified.

QO It's right beiow DRG 519; is that correct?
A Correct,
Oo And that is a subsection of medical

procedures that are, quote, due to musculoskeletal

 

 

disorders, correct?

 

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Page 53
A Yes.
9 Okay. Are you aware of whether Ms. Orr,
Jackie Orr, has a musculoskeletal disorder?

A I don't know.

QO You don't know?

A No.

0 So you don't know —-

A We --

Q Sir?

A We were looking for any instances in the

database that would contain, that would contain the
charges for a neurostimulator. And based upon this
material from Medtronics, they identified six |
possible DRGs that could contain neurostimulators.,
And the -- there were no -- the ones that would be --

that had any frequency were DRG 29 and DRG 520 in the

AHD data --
QO Okay.
A -- in the AHD database.
Q Do you have any evidence that DRG 520

applies to Jackie Orr in any way, shape or form?
A T don't know.
0 Okay. Now, if you look on page 13 right

above this subsection of "due to musculoskeletal

disorders" you'll see a subsection that says, "pain

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disorder or due to causalgia or RSD." Do you see

that, sir?

Oo PF © PB

Ms. Orr's

Q
the DRG 52

Yes.

Do you know what RSD stands for?

Not off the top of my head.

Stands for reflex sympathetic dystrophy.
Would it surprise you that that's what
been diagnosed with in this case?

That sounds -—

MS. RICHARDSON: Object to form.

THE WITNESS: -—- familiar.

{By Mr. Kraeuter) Okay. Can we agree that
QO.does not apply to Ms. Orr in this case?
MS. RICHARDSON: Object to the form.

THE WITNESS: I don't, I don't know. I

would --

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used,

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diagnosis.

(By Mr. Kraeuter) Okay.
IT would agree that Medtronics includes it

sible DRGs where their device would be

All right.

T don't, I don't know.

Let me ask you this <--

It's a clinical question as far as her

I'm not a clinician.

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Page 55
QD Let me ask it -- I'm sorry, sir.
Let me ask it this way: Can we agree, as

you sit here today, that you don't know that DRG 520

applies to Ms. Orr in this case?

MS. RICHARDSON: Object to the form.

THE WITNESS: I don't know.

Q (By Mr. Kraeuter) Okay. Have you told us all
of the Medicare, VA, American Hospital Directory, PMIC,
and Physicians' Fee Reference data that came from the
Savannah, Georgia area?

MS. RICHARDSON: Scot, can you hang on one
second? The, the building operator needs
something. She's going to have to interrupt
your video feed.

(Whereupon, a brief recess was taken.)

THE WITNESS: Have you read the question
back, or somebody repeat it.

MR. KRABUTER: Yeah. Let's read it back,
please.

(Whereupon, the court reporter read back
the previous question on page 55, line 7.)

THE WITNESS: I think so.

Q (By Mr. Kraeuter) Okay. Now, did you perform
an independent survey of the physicians, hospitals, and

ambulatory surgery centers in the Savannah, Georgia

 

 

 

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Page 56
area to determine the reasonable charges in the
Savannah, Georgia area for the types of treatment
recommended? |

A No. I did not survey individual
facilities. We used the published sources that are
described in the report.

Q Okay. Now, does Jackie Orr receive VA

benefits, medical benefits?

A “I don't know.

QO Does she receive Medicare benefits?

A IT don't know.

QO Does she receive Medicaid benefits?

A I don't know.

QO Does she have private health insurance?
A I don't know.

0 Okay.

A And all those are irrelevant in terms of

what charges are.

Q Well, private health insurance pays a
different reimbursement rate than Medicare, correct?
A Payment and charges are two different

things. Our report addresses billed charges.
QO I see.
So your testimony is that the data you've

relied on is what various hospitals or physicians

 

 

 

 

 

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Page 57
nave charged for various procedures as opposed to
what they've received as reimbursement; is that
correct?

A Yes. We're reporting primarily on the
charges; gross charges. | i

Q Have you seen any of the patient repayment
agreements that Optim Healthcare has in this case?

A I don't think so.

Q Now, let's look at your report, please.

A Okay.

Q At the top of page 2 it talks about your
engagement in this case. And you were engaged to
independently review the plaintiffs' projected

medical charges?

phi re ete

A Yes. , |

 

 

QO So you were, not asked to review her
existing or past medical bills; is that correct?

A Correct.

Q Okay. And you have no opinion on the |
reasonableness of the past medical bills charged to

Ms. Orr?

A I've not reviewed them, so I have no
opinion.
Q So you have -—- okay.

Now, let's talk about your findings in this

 

 

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Page 58
case; page 8 of your report.
MS. RICHARDSON: Scot, is this a good place
to take a short break?
MR. KRAEUTER: Yeah, as long as it's short.

IT lost about a half hour with that document-

production.

MS. RICHARDSON: Yeah. Just five minutes
is all. Nothing --

MR. KRAEUTER: Okay.

MS. RICHARDSON: Just restroom break, if
that's all right.

MR. KRABUTER: Sure, sure.

(Whereupon, @ brief recess was taken.)

QO (By Mr. Kraeuter) Now, doctor, we were
looking at page 8 of your report when we took a break.
And I want to call your attention to finding number one
regarding the ganglion blocks.

A Yes.

Q Okay. And your opinion is that the 75th
percentile UCR -- usual, customary, reasonable --
charge in Savannah, Georgia is $766. Do you see
that, sir? |

A Yes.

QO Okay. Now, any particular reason why you

didn't use the 80 percent UCR or the 90 percent UCR?

 

 

 

 

 

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Page 59

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A Well, the PFR and PMIC databases that we
used did not offer an 80th percentile option. They
nave the 50th, 75th, and 90th percentiles reported.

Q Right.

But they co offer a 90th percentile,
correct?

A Yes, they do.

Q Okay. Any reason why you didn't use the ke
90th percentile?

A Basically the 75th percentile is the most
commonly used threshold in the industry for purposes
of establishing limits. 930th percentile is somet imes
used -- or more frequently used in dental procedures,
but for medical procedures I've seen 75th percentile
more frequently used.

Q And that's what the insurance companies
will pay, correct?

A Not necessarily.

Q Are you saying that they'll pay more than

 

 

the 75 percent UCR?

A They could. It depends upon the agreement
with the provider, if there is any. If there's no
agreement with the provider, then it depends upon the
insurance carrier's practices as to how they pay for

out-of-network services. And sometimes in other

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Page 60
states it would depend upon state law.
Q Okay. So the reality when we talk about
these ganglion blocks is you don't know what the
doctors are actually getting paid in Savannah,

Georgia for these blocks?

A For Medicare I do. Or I could.
0 Okay.
A I can determine. That is published.

O But you didn't do that in this case?

A i didn't report on it in here. I reported
on the charges.

oO Okay. And as we talked about, all your
opinions are contained in your report.

Now, do you know if the charge of $2,000
per ganglion block is unreasonably high if Jackie Orr
has them done in the Atlanta, Georgia area?

A Yeah. it would be unusually nigh in
Atlanta also because the geographic factors between
Savannah and Atlanta are not significantly different.

0 Now, how many hospitals, doctors, and
ambulatory surgery centers in the Savannah, Georgia
area were provided data to come up with this
75 percent usual, reasonable, and customary amount?

A I don't know, You'd have to ask the

publishers.

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Qo Okay. Do you know if any of the data in
either the PMIC or the Physicians' Fee Reference
books and database for ganglion blocks came from
Savannah, Georgia area?

A Yes.

Q Okay. But you don't know how much of it
came from the Savannah, Georgia area?

A Well, because both of those databases
includes Medicare -~ charges to Medicare patients are
included in both of those databases, it would include
all charges to Medicare patients made by providers in
the Savannah area.

QO All right. And do you know how many
representative charges were taken from the Savannah,
Georgia area by. either PMIC or the Physicians' Fee
Reference book to come up with this usual, customary,
and reasonable number of $766?

MS. RICHARDSON: Object to the form.
THE WITNESS: -Well, all of them. All the

Medicare claims are in that database.

Q (By Mr. Kraeuter) Okay. Well, how many came
from the Savannah, Georgia area, sir?

A I don't know the precise number. It's tens
of thousands, you know.

QO Well --

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Page 62
A It depends -- you know, there is -- it's
possible to -- it may be possible to determine the

specific number, but I don't know it. But it would
be -- it's essentially ail of the charges were
Medicare patients reported -- or paid to providers in
the Savannah area; not the payment amount, the charge
amount.

Q I understand that the PMIC and Physicians'
Fee Reference books use data from Medicaid. 17
understand that whatever Medicaid data for ganglion
blocks existed in Savannah, Georgia area would appear
in those databases. JI understand all that.

But my question to you is: How many actual
charges or procedures from the Savannah, Georgia area
for ganglion block shows up in that data; do you
know?

A I've already answered that question. I
said I did not know the number.
Q Okay.

A But it's all of them,

Q Okay. I just want to make sure we're
clear.

A Okay.

0 Now, your next opinion is that Dr. Harben's

projected charges for the Nucynta drug,

 

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Page 63 |

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N-U-C-Y-N-T-A, are 37 percent higher than the
projected charges for the same drug for
Dr. Niederwanger. Do you see that, sir?

A Yes.

Q Okay. Do you know the milligram dosage
that Dr. Harben was recommending?

A Let's see. Dr. Harben was recommending
600 milligrams, and Dr. Niederwanger was recommending
800 milligrams.

Q Are you sure you're iooking at the Nucynta,
sir?

A Oh, I'm sorry. Yeah. That was Gabapentin.

Nucynta. Dr. Harben was recommending

400 milligrams, and Niederwanger was recommending
100 milligrams.

oO So we can agree that the dosage that
Dr. Harben was recommending was 75 percent higher
than Dr. Niederwanger?

A It's four times higher.
In percentage terms, isn't that 75 percent?
I don't think so.

Well, 100 is 25 percent of 400, is it not? |

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Let me -- just a minute.
You're asking what the ratio of 400 is to

100?

 

 

 

 

 

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Page 64

QO Mm-hmm. Yes.

A It's four to one,

QO Okay. If I take a hundred and I divide it
by 400, it's .25, is it not?

A Yes.

Q It's 25 percent, right?

A One hundred is 25 percent of 400. I would
agree with that.

Q Okay. So Harben's dosage is 75 percent

higher, is it not?

A No. That's not how math works.
Q Okay. Do you think it's unreasonable that
Dr. Harben's charge for -- or projected charge for

Nucynta at 400 milligrams would be 37 percent more
expensive than Dr. Niederwanger's, but it's that much
stronger? Do you think that's unreasonable?

A I'm calculating this on a per milligram
basis. On a per milligram basis, Dr. Harben is at
8.167 cents per milligram. Dr. Niederwanger is at
5.967 cents per milligram. The difference between
those two is 37 percent. Dr. Harben is 37 percent

higher per milligram than Dr. Niederwanger.

QO Okay. Let's talk about your opinion on
Gabapentin.
A Okay.

 

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Page 65

QO You're critical of Dr. Harben's projected
charge of $55 for a 30-day supply of Gabapentin; is
that correct?

A Well, it's not ~- it is significantly
higher than what I see as prices quoted by
GoodRX.com.

QO Okay.

A About twice --

Q And --
A -- too much.
QO So you went onto GoodRX.com website to come

up with the cost for Gabapentin; is that correct?

A That's correct.

Q Did you use any other source of information
to come up with your opinion on the reasonableness of
Gabapentin charges with Dr. Harben?

A I don't think so.

oO Okay. Let's take a look at Exhibit 71.

A Okay.

O All right. Is this the GoodRX website
you're talking about? |

A That is from the GoodRX website.

Q Okay. And the dosage that Dr. Harben was
recommending was a 600-milligram dosage; is that

correct?

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Page 66
A Yes,
Q Okay. Does the GoodRX website have numbers

for 600 milligrams of Gabapentin?

A Umm .
Q For the cost of 600 milligrams?
A Hang on just a minute. Let me pull up my

copy cause the copy that I referenced is in the
printouts.
Yes, they do.

0 They do?

A They do.

Q Okay. TI mean, I'll tell you I looked at it
and they didn't have an entry for 600 milligrams.
They had 100, 300 and 400.

A I've got it at 600 milligrams, 60 tabs per

prescription.
Q And you got off that -- that off the GoodRX
website?
| A Yeah. I've got a screenshot in the
printouts.

Q And that's going to be in the material that
you're giving me?

A Yes.

QO Okay.

A As well as 800 milligrams.

 

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Page 67
Q Now, going to finding number five regarding
the ambulatory surgery center charges for trial

spinal cord stimulators --

A Yes.
Q -- do you see that, sir?
A I do.
Q And you used an 80 percentile usual,

customary, reasonable charge; is that correct?
A That's correct.
Q Any reason why you wouldn't use a 75

percent usual and reasonable, customary charge?

 

 

A The -- yes, there is.
OQ And what is the reason for that, sir?

A That data is not provided at any percentile
other than the 80th.

O Other than who, sir?

A Other than the 80th percentile. That's the
only percentile that's published.

QO And where did you get that information
from; the 80th percentile UCR?

A The Veterans Administration's reasonable
charge database,

Q Okay. Do you know if any of the data for
the VA database came from the Savannah, Georgia area?

A I believe it did, but let me see here.-:

 

 

 

 

 

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Page 68
You got in your exhibit stack one of the
listings of sources from the VA database. Can you
point me to where that is? I saw it earlier.
Okay. Let's look at your Exhibit 79. Just
one second and I'll look it up.
Q Sure.
A Yes. It would include facilities in the
Savannah area. i
Q And what are you looking at, sir?

What's been labeled Plaintiffs' Exhibit 79.

 

 

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Qo And where do you find that, sir?

A About a third of the page down, "charge
type, OPT." That means outpatient; refers to the
outpatient facility database. And what the VA is
reporting here, that their data source is the
Medicare APC payment amount, OPPS data file for
calendar year 2016. And that's a hundred percent -—-

Q Okay.

A ~- data file of all charges to Medicare
patients by outpatient facilities. And that would
naturally include any Medicare patients in the
Savannah area as well as the whole country, but it
includes Savannah.

Q How many, how many data entries for the VA

database came from the Savannah, Georgia area?

 

 

 

 

 

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A I don't know.

O Okay.

A But it would be all of them.

QO Which all could be anywhere from zero to
infinity, correct?

A Theoretically, yes.

QO I mean, this is kind of like with the DRG

029 we talked about earlier. You couldn't find a DRG
029 entry for spinal cord stimulators closer than
Charleston, South Carolina, correct?

A No. That's not true. There are no

hospitals that reported 11 or more of that DRG.

Q Okay.

 

 

A There are hospitals that reported less than

that all over Georgia. |

0 But not in Savannah, Georgia? |
A Weil, “all over Georgia" includes. Savannah,

I think.
oO Well, in all your data, sir, show me one

hospital in Savannah, Georgia that reported a DRG 029

in your research. Pull your records. Show me.
A I don't have it in my file.
OQ Because it doesn't exist.
A There's no hospital --

MS. RICHARDSON: Object to the form.

 

 

 

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Page 70
THE WITNESS: -- that reported more than
11.
QO (By Mr. Kraeuter) And you're not aware of --

A If there --
Q -- any hospital -- excuse me. Let me
finish. |
You're not aware of any hospital in

Savannah, Georgia that reported a DRG 029 procedure

‘in your research. Cause if you had, you'd show it to

me.
A That's correct.
Q Okay.
A But I can tell you it did report on the

average charge for all hospitals in Georgia of which
there's 87 cases. And I believe that it's highly
likely that at least one of those is from Savannah,
but I can't prove that.
Q And you're basically guessing when you say
that?
A No. I'm just thinking about --
MS. RICHARDSON: Object to the form.
THE WITNESS: -- distribution of population
throughout the state. I think that --
) (By Mr. Kraeuter} You --

A -- Savannah represents more than 1/87th of

hase aed BN

 

 

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the total population of the state when it comes to
Medicare beneficiaries.

MR. KRARUTER: I'm going to move to strike
those answers as speculative.
Oo (By Mr. Kraeuter) Because, really,
Mr. Blount, that's what you're doing right now. You're
speculating. You don't know for a fact that any of
those DRG 029 entries came from one of the three
Savannah, Georgia hospitals: Memorial Medical Center,
St. Joseph's, or Candler?
MS. RICHARDSON: Object to the form.
QO (By Mr. Kraeuter) Answer the question, sir.
A What was -- it sounded like you were making

a statement.

Q No. It was a question.

A Okay.

QO Please answer. |:
A Ie-dontt, I don't know of any particular

hospital volume in Savannah for this DRG.
Q Okay.
A But I do know --
Q Now, you -- |

A Ido know the statewide average.

 

 

QO Okay. Now, you have stated in your report

 

that Congress has charged the VA to establish charges |
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Page 72
that are 80 percent of the community charges. Do you
recall that part of your report?

A Yes.
Q Okay. And that means that community

charges are actually 20 percent more than the VA

charges?
A No.
oO WO Wo

Okay. Do you know any hospital in Georgia
that uses the VA hospital data to determine usual,
customary, and reasonable charges other than VA
hospitals?

A Not that I know of. But I don't know what
most hospitals use for their basis for charges.

0 Okay. Same question for ambulatory
surgical centers.

A The same answer.

oO You don't know what ambulatory surgical
centers use as the basis of their charges or to form
their charges; isn't that correct?

A No. And their basis for the charges is
irrelevant. What's important is that the VA database
includes whatever they are charging regardless of how
they calculated it or whether or not they even have a-

basis for it. They could be picking random numbers

 

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_ have her procedures done at a VA facility, sir? Do ©

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for all I know, but it's still what they charge.

Qo Do you know if any of the physicians
involved in this case or any of the ambulatory
surgical centers involved in this case even accept VA
patients?

A No. And it's not relevant because the VA
database is based -- is a determination of rates
from -- that other facilities charge. It's not for
VA -- the VA uses it to set their rates, but the
basis for their information is -- are ail the charges
for all other types of providers.

Q Now, we can agree that doctors, hospitals,

 

 

ambulatory surgery centers are not required by law to
accept VA patients, are they?
A I don't know. I've never researched that.
Q Okay. You're not here to suggest that any
of the physicians or surgery centers involved in this
case are required to use the VA database when setting

charges and fees?

A VA facilities are,
0 Hxcuse me?
A VA facilities are required by law to use

this database, |

Q Are you aware whether Ms. Orr is going to

 

 

 

 

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you even know that?
A I don't know.
QO Okay. Js a private physician at a private

surgery center required to use VA database in setting
its charges?

A Private facilities are not required to use
any database that I know of.

QO And you're not here to say that the VA
database is the only way to determine reasonableness
of fees -and charges for medical services, are you?

A No.

QO Now, let's take a look at Exhibit 73,
please. Can you identify this, sir?

A I naven'tt found it yet.

Okay. I've got it now.
Okay.
Yes,

Please identify it.

BO PF ©

Looks like a screenshot from the VA website
where the databases are available in PDE format.

Q And is that where you got your information,
Sir?

A Yes.

Q Okay. Why don't we turn to page 4 of that

document, please.

 

 

 

 

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